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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA                      JS-6
                       CIVIL MINUTES – GENERAL
 Case No. SACV 19-00898 AG (KESx)            Date                        October 4, 2019
 Title       P AND P IMPORTS LLC v. OJCOMMERCE, LLC, ET AL.




 Present: The Honorable       ANDREW J. GUILFORD
          Melissa Kunig                         Not Present
           Deputy Clerk                  Court Reporter / Recorder           Tape No.
       Attorneys Present for Plaintiffs:            Attorneys Present for Defendants:

[IN CHAMBERS] ORDER REGARDING MOTION TO DISMISS OR TRANSFER
(DKT NO. 23)

Plaintiff P&P Imports LLC brought 5 claims against OJ Commerce, LLC and
OJCOMMERCE.COM, Inc. for trademark infringement, copyright infringement, trade dress
infringement, and unfair competition. (Dkt. No 9, First Amended Compl. (“FAC”).)
Defendants have filed a motion to dismiss for lack of personal jurisdiction and improper
venue. (Dkt. No. 23, (“Motion”).) Alternatively, they seek to transfer the case to the Southern
District of Florida. Plaintiff opposes the Motion. (Dkt. No. 29, (“Opp.”).)

The Court GRANTS the Motion. The Court TRANSFERS this case to the Southern District
of Florida.

1. BACKGROUND

Plaintiff is a designer and distributor of proprietary games and sporting goods under its
GoSports brand, among other brands. (FAC ¶ 11.) Plaintiff has been in business since 2007
and extensively advertises and promotes its products in retail venues including Amazon,
Walmart, and Target. (Id. ¶ 12.) P&P is presently located in Santa Ana, California and
employees twenty individuals at its Orange County headquarters. (Id. ¶ 12.) Plaintiff markets
its products under three brands, with all trademarked in the United States Patent and
Trademark Office. (Id. at 13.)

One of Plaintiff’s products under the GoSports brand is the “PEMIUMIUM WASHER
TOSS GAME SET.” (FAC ¶ 14.) In August 2016, Plaintiff was issued US Copyright
Registration Number VA 2-013-842 entitled “P&P Imports 2016 Lookbook.” (Id. ¶ 15.)

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Plaintiff asserts Defendants sell an infringing washer toss game set (“washer game”) on an
internet retail store owned and operated by Defendants using Plaintiff’s copyrighted images
and registered GoSports trademark. (Id. ¶ 16.) Plaintiff claims Defendants do not sell and ship
genuine P&P products but instead sell a product made by BSN SPORTS, INC. dba US
GAMES. (Id.) Plaintiff states Defendants have unfairly infringed the copyrights, trademarks,
and trade dress of Plaintiff’s washer game to market and sell the infringing washer game. (Id.)

2. LEGAL STANDARDS

         2.1 Personal Jurisdiction

“Where a defendant moves to dismiss a complaint for lack of personal jurisdiction, the
plaintiff bears the burden of demonstrating that jurisdiction is appropriate.” Schwarzenegger v.
Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir. 2004). Federal courts don’t have personal
jurisdiction over a nonresident defendant unless: (1) the defendant purposefully established
“minimum contacts” with the forum state and (2) the exercise of jurisdiction comports with
“fair play and substantial justice.” Daimler AG v. Bauman, 571 U.S. 117, 126-27 (2014).
Minimum contacts are shown if the defendant’s affiliations with the state are so constant and
pervasive “as to render [it] essentially at home in the forum State” (general jurisdiction), or if
the defendant has sufficient contacts arising from or related to specific transactions or
activities in the state (specific jurisdiction). Id. at 122, 127.

Courts exercise general jurisdiction over corporations whose place of incorporation and
principal place of business are in other states only in “exceptional” cases. See Martinez v. Aero
Caribbean, 764 F.3d 1062, 1070 (9th Cir. 2014). In cases sounding in tort, the exercise of
specific jurisdiction is appropriate where the defendant allegedly (1) committed an intentional
act, (2) expressly aimed at the forum state, (3) causing harm that the defendant knows is likely
to be suffered in the forum state.” Pakootas v. Teck Cominco Metals, Ltd., 905 F.3d 565, 577 (9th
Cir. 2018).




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         2.2 Venue

28 U.S.C. § 1391(b) provides that “[a] civil action may be brought in: (1) a judicial district in
which any defendant resides, if all defendants are residents of the State in which the district is
located; (2) a judicial district in which a substantial part of the events or omissions giving rise
to the claim occurred, or a substantial part of property that is the subject of the action is
situated; or (3) if there is no district in which an action may otherwise be brought as provided
in this section, any judicial district in which any defendant is subject to the court’s personal
jurisdiction with respect to such action.”

“Once a defendant challenges venue, the plaintiff bears the burden of showing that venue is
proper.” GemCap Lending I, LLC v. Trent Bateman, No. CV17-3305 PSG GSJx, 2017 WL
8183191, at *2 (C.D. Cal. July 17, 2017). “In determining whether venue is proper, the Court
need not accept the pleadings as true and may consider facts outside of the pleadings.” Id. “If
the Court determines venue is improper, it may either dismiss the case or transfer the case to
any other district in which it could have been brought.” Id.; see also 28 U.S.C. § 1406(a).

3. ANALYSIS

         3.1 Personal Jurisdiction

Defendants, a Delaware corporation and a Delaware LLC, both have headquarters in Florida.
(Motion at 8.) The Supreme Court has clarified that “[w]ith respect to a corporation, the place
of incorporation and principal place of business are ‘paradigm . . . bases for general
jurisdiction’” because that is where the defendant is “at home.” Daimler, 571 U.S. at 137.
“Those affiliations have the virtue of being unique—that is, each ordinarily indicates only one
place—as well as easily ascertainable.” Id. “These bases afford plaintiffs recourse to at least
one clear and certain forum in which a corporate defendant may be sued on any and all
claims.” Id. So while Defendants’ global internet sales give it a presence in the domestic and
international market, it is not automatically subject to general jurisdiction in every large
market. Even continuous and systematic business operations are insufficient to justify general
jurisdiction. See Martinez, 764 F.3d at 1070 (“The Court in Daimler rejected the plaintiffs’
argument, also pressed by plaintiffs here, that general jurisdiction is appropriate whenever a
corporation ‘engages in a substantial, continuous, and systematic course of business’ in a
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state.”). Defendants don’t have headquarters or executive offices in California, and its center
of control is in Florida. (See Motion at 8.) Under Daimler, Defendants are not “at home” in
California and are only subject to suit here if the facts of this case support specific jurisdiction.

They do not. Specific jurisdiction requires a showing that Defendants’ lawsuit-related conduct
created a “substantial connection” with California. See Walden v. Fiore, 571 U.S. 277, 284
(2014). It isn’t enough that Plaintiff resides in California—Defendants must have directed its
lawsuit-related activity to the forum state. Casualty Assurance Risk Ins. Brokerage Co. v. Dillon, 976
F.2d 596, 601 (9th Cir. 1992).

Here, Plaintiff states that Defendants: (1) targeted Plaintiff’s California-based Amazon
marketplace listing, (2) purported to sell a California company’s product and delivered to
California customers, and (3) aimed at California by including “Prop 65” disclosures on
Defendants’ website. (Motion at 5-8.) But “a mere injury to a forum resident is not a sufficient
connection to the forum” to create specific jurisdiction. Walden, 571 U.S. at 283-86. In
briefing, Plaintiff repeatedly cites California Brewing Company, an unreported district court case
from the Eastern District of California. California Brewing Co. v. 3 Daughters Brewing LLC, No.
2:15-cv-02278-KJM-CMK, 2016 WL 1573399 (E.D. Cal. April 19, 2016). The California
Brewing Company case is distinguishable on several grounds, and in any case the Court declines
to apply this unreported case.

Even if the Court takes all of Plaintiff’s allegations as true, the allegations are not sufficient to
establish personal jurisdiction over Defendants because Plaintiff fails to allege that
Defendants sales to California were not “random, fortuitous, or attenuated” and merely
because California “is where the purchaser happened to reside.” See Boscheto v. Hansing, 539
F.3d 1011, 1019 (9th Cir. 2008). Posting Plaintiff’s intellectual property on Defendants’
website is insufficient to establish personal jurisdiction. See Erickson v. Nebraska Mach. Co., 15-
CV-01147-JD, 2015 WL 4089849, at *4 (N.D. Cal. July 6, 2015) (“The mere act of copying
Erickson’s photographs and posting them on NMC’s website did not involve entering
California, contacting anyone in California, or otherwise reaching out to California.”). Further,
marketing and selling to California residents through Defendants’ website or Amazon.com is
insufficient to establish personal jurisdiction. Adobe Sys. Inc. v. Cardinal Camera & Video Ctr.,
Inc., 15-CV-02991-JST, 2015 WL 5834135, at *3-4 (N.D. Cal. Oct. 7, 2015) (finding no
personal jurisdiction over defendant where plaintiff argued “the express aiming prong [was]
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satisfied here because 1.2% of [defendant’s] sales are shipped to California and because
[defendant] advertises for sale and sells infringing software on its website and through its
Amazon.com account”).

The Court thus lacks jurisdiction over Defendants in this matter.

         3.2 Improper Venue

Even if the Court found it had personal jurisdiction over the Defendants here, the Central
District of California is not a proper venue. Both Defendants are headquartered in Florida, so
Plaintiff can’t meet the first or third prongs of the venue test. See 28 U.S.C. § 1391(a), (c).
Venue is thus only proper in this District if Plaintiff can meet the second prong and show that
“a substantial part of the events or omissions giving rise to the claim occurred” in California.
28 U.S.C. § 1391(b)(2).

Other than Plaintiff’s California residence and Defendants’ alleged internet sales to California,
this case has little connection to the state. All the events giving rise to this action took place in
Florida, where all the evidence and most of the witnesses are located. (Opp. at 18-19.) The
alleged infringement took place in Florida. Likewise, Florida is the location of the key events
of the alleged infringement to be proven, such as business plans, development, advertising,
fulfillment, and all other business-related activities by Defendants. (Id. at 16.)

Plaintiff simply hasn’t showed that “a substantial part of the events or omissions giving rise to
the claim occurred” in California. 28 U.S.C. § 1391(b)(2). And even if the Court found venue
was proper in this District, it would find the interests of justice favor litigation in Florida, for
these and other reasons.

4. DISPOSITION

Under these circumstances, the Court may either dismiss the litigation or transfer it to a
proper or more convenient venue. See Goldlawr, Inc. v. Heiman, 369 U.S. 463, 466
(1962) (holding that a court may transfer venue “whether the court in which it was filed has
personal jurisdiction over the defendants or not”); Nelson v. Int’l Paint Co., 716 F.2d 640, 643
(9th Cir.1983) (holding cases may be transferred under 28 U.S.C. § 1406 “to cure a lack
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of personal jurisdiction in the district where the case was first brought”). Defendants are both
based in Florida, where both personal jurisdiction and proper venue clearly lie.

The Court TRANSFERS this case to the Southern District of Florida. The Court can take no
further action on any claims.

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